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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

In re:                                    )
                                          )
11380 SMITH ROAD, LLC,                    )     Case No. 19-10286(TBM)
EIN: XX-XXXXXXX,                          )     Chapter 7
                                          )
        Debtor.                           )
                                          )
_____________________________________________________________________________

      NOTICE OF MOTION FOR RELIEF FROM STAY AND OPPORTUNITY FOR
                               HEARING


                            OBJECTION DEADLINE: FEBRUARY 7, 2019

       NOTICE IS HEREBY GIVEN that a Motion for Relief from Stay has been filed, a copy
of which is attached hereto.

       A hearing on the Motion has been has been set for February 14, 2019, at 9:00 a.m. at the
U.S. Bankruptcy Court, U.S. Custom House, 721 19th Street, Courtroom E, Fifth Floor,
Denver, Colorado 80202.1 The hearing will be conducted in accordance with the provisions of
L.B.R. 4001-1.

        If you desire to oppose the Motion, you must file with this court a written objection to the
Motion on or before the objection deadline stated above and serve a copy upon movant’s attorney,
whose address is listed below. If you file an objection, you are required to comply with L.B.R.
4001-1 regarding hearing procedures, including (i) the timely submission and exchange of witness
lists and exhibits and (ii) attendance at the above-scheduled hearing in person or through counsel,
if represented.

        If you fail to file an objection, the scheduled hearing will be vacated, and an order granting
the relief requested may be granted without further notice to you.




1
  Pursuant to the Court’s Order dated January 30, 2019 (Docket No. 10) (the “Order”), the Court has authorized
Movant to select a hearing date that is “which is approximately 14 days, more or less, from the filing of the [] motion
for relief from stay . . .” (Docket No. 10 at p. 2). Additionally, the Order provided that “any objection to the [] motion
shall be filed by a specific date that is seven days prior to the hearing date selected . . .” (Id.).


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Dated:             Denver, Colorado
                   January 31, 2019
                                      MOYE WHITE LLP

                                      s/ Timothy M. Swanson
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